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                   EXHIBIT A




                                      1
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                             Table of Contents to Exhibit A




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        3        Notice of Case Assignment
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        25       Civil Case Cover Sheet
        31       Summons
        32       Declaration of T. Thompson
        34       Initial Status Conference Order
        40       Order Re: Newly Assigned Case
        42       Certificate of Mailing for Court Order Re: Newly Assigned Case
        43       Nunc Pro Tunc Order
        44       Certificate of Mailing for Nunc Pro Tunc Order




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                                                                                                          Reservad (or Ch:1rk's File Stamp
                       SUPERIOR COURT OF CALIFORNIA
                          COUNTY OF LOS ANGELES
     COURTHOUSE ADDRESS:
   Spring Street Courthouse
                                                                                                                     FILED
                                                                                                      Superior Court of California
   312 North Spring Street, Los Angeles, CA 90012                                                       County of LusAngsles
                                                                                                                02/08/2021
                       NOTICE OF CASE ASSIGNMENT                                             S·1~·t1 R   C~·i<'J·. [.1.,!.'0.fl-\'00",ce ,I C<!IX o!C,:iu·1

                                                                                               Sv: ----------·---~~~-~\' __ -~- __ L\::x.ty
                           UNLIMITED CIVIL CASE

                                                                                       CASE NUMBER:

    Your case is assigned for all purposes to the judicial office,· indicated below. 21 STCV04909

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                 ASSIGNED JUDGE               DEPT      ROOM      :                ASSIGNED JUDGE                           DEPT           ROOM
                                                                  ;<
     V !Amy D. Hogue                         7
                                                                           I




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer/ Clerk of Court
    on 02/08/2021                                                              By S. Drew                                                , Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
                                                                       3
    Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 4 of 44 Page ID #:9


                                    INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

 The following critical provisions of the California Rules of Court, Title 3, Division 7. as applicable in the Superior Court, are summarized
 for your assistance.

APPLICATION
The Division 7 Rules were effective Janual)' 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the otJ1ers are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A chalJenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or ifa party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigried to the Independent Calendaring Courts    wrn be subject to processing under the following time standards:
COMPLAINTS
All complaints shall be served within 60 days of filing and proofofservice shall be filed within 90 days.

CROSS-COMPLAINTS
Without lba"Ve of couit first being obtained, no cross-complaint may be filed by any party after their answer is filed.         Cross-
complainls shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing dale.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Cotirt will require the j)ifrfies to at1end a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine~ bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, spedal jury instructions~ and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
1ists of exhibits and witnesses) and have submitted to the court a brief statement of the case to bu read to the jury panel as rnquired
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court' will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trinl Court Dc]ay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
'Ptfrsufillt to-Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Court'house and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is foun<l not to be a class action it will be returned to an [ndependent
Calendar Courtroom for a11 purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
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      11
          Attorneys for Plaintiff TAYLOR THOMPSON,
      12 on behalf of himself and all other California
          residents similarly situated
      13
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
      14
                               COUNTY OF LOS ANGELES, CENTRAL DISTRICT
      15
          TAYLOR THOMPSON, on behalf of himself
      16 and all other California residents similarly
                                                       Case No
                                                               ·
                                                                   21 SJ CVQ,. 909  .,
          situated,                                    CLASS ACTION
      17
                          Plaintiff,                   CLASS ACTION COMPLAINT FOR:
      18
                  v.                                   (1) BREACH OF IMPLIED COVENANT
      19                                               OF GOOD FAITH AND FAIR DEALING
          ROBINHOOD FINANCIAL LLC,
      20                                               (2) BREACH OF FIDUCIARY DUTY
                          Defendant.
      21                                               (3) VIOLATION OF CALIFORNIA
                                                       CONSUMERS LEGAL REMEDIES ACT
      22                                               (Cal. Civ. Code§§ 1750, et seq.)

      23                                                (4) VIOLATION OF CALIFORNIA
                                                        UNFAIR COMPETITION LAW (Cal. Bus.
      24                                                & Prof. Code§ 17200, et seq.)

      25                                                (5) VIOLATION OF CALIFORNIA
                                                        FALSE ADVERTISING LAW (Cal. Bus. &
      26                                                Prof. Code § 17500, et seq.)

      27                                                 (6) NEGLIGENCE
                                                         JURY TRIAL DEMANDED
      28


                                             CLASS ACTION COMPLAINT


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             Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed
                                                        ')
                                                           03/11/21 Page 6 of 44 Page ID #:11




                     I          Plaintiff TAYLOR THOMPSON ("THOMPSON" or "Plaintiff'), on behalf of himself and

                     2 all other California residents similarly situated (the "Class," as defined below), alleges as follows

                     3 upon information and belief based, inter alia, upon investigation conducted by Plaintiff and his

                     4 counsel, except as to those allegations pertaining to Plaintiff personally, which are alleged upon

                     5 knowledge:

                     6                                            INTRODUCTION

                     7           1.     Defendant ROBINHOOD FINANCIAL LLC ("ROBINHOOD") is an online,

                     8 introducing broker, with a wildly popular platform. It has marketed itself to the public that by using

                     9 its services on a phone or computer a person could make unlimited, commission-free trades.

                    10 ROBINHOOD became very popular as a result of its marketing and advertising emanating from its

                    11   headquarters in California and it has positioned itself as a way for the masses to trade stock, options

As           .~     12 and cryptocurrency. In the past it has used the slogan "Let the people trade." 1
""' ~ <Ea
...:i               13          2.      ROBINHOOD has been very successful in its marketing and hit a chord with
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        00     00   14 California consumers who flocked to the platform to make the unlimited commission-free trades
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                    15 promised by ROBINHOOD. Unfortunately, however, ROBINHOOD was too successful for itself
~~~                 16 and did not have the capital, operational technology and capabilities to appropriately handle trades
             ~

                    17 for all of its customers. When trading volumes increased, it purposefully, willfully, and knowingly

                    18 restricted trading in certain stocks including, but not limited to, Gamestop Corp. ("GME"), AMC

                    19 Entertainment Holdings Inc. ("AMC"), BlackBerry Ltd ("BB"), Nokia Oyj ("NOK"), Bed Bath &

                    20 Beyond, Inc. ("BBBY"), Express, Inc. ("EXPR"), Koss Corporation ("KOSS") and Naked Brand

                    21   Group Ltd ("NAKD") (collectively, the "BLOCKED STOCKS") thereby depriving California

                    22 consumers the ability to trade as had been promised.

                    23          3.      ROBINHOOD knew, or should have known, that the model that it had marketed and

                    24 built would be unsustainable in market conditions such as recently experienced. Nevertheless, by

                    25 only focusing on growth-and not the ability to deliver the products and services promised in its

                    26

                    27   1
                        @RobinhoodApp, Twitter (Mar. 23, 2016, 11 :30 AM),
                    28 https://twitter.com/RobinhoodApp/status/712708069369782272.

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                                                              CLASS ACTION COJVIPLAINT

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         I    advertising and elsewhere-ROBINHOOD ignored its own mantra to let the people trade, and

         2 blocked access to millions of customers for self-serving reasons. As a direct result, Plaintiff and the

         3    Class were damaged as set forth below.

      4                                   PARTIES, JURISDICTION AND VENUE

      5              4.       Plaintiff, TAYLOR THOMPSON, resides in Los Angeles, California. Plaintiff has

      6 been an active user ofROBINHOOD since 2019 when he was drawn to the platform by its promise

      7 of unlimited commission-free trades.

      8              5.       Defendant ROBINHOOD FINANCIAL LLC is a Delaware Corporation with

      9 headquarters in Menlo Park, California. It is an "Introducing Broker" and has over 10 million daily

     10 active users of its platform.

     11              6.       This Court has jurisdiction over this action pursuant to California Code of Civil

     12 Procedure sections 395 and 410.10. This action is brought as a class action on behalf of Plaintiff and

     13      Class members pursuant to California Code of Civil Procedure section 3 82.

     14              7.       This Court has personal jurisdiction over ROBINHOOD because such Defendant is

     15 headquartered, and has its principal place of business, in California.

    16               8.       Venue is proper in this Court pursuant to California Code of Civil Procedure sections

    17 395 and 395.5 because ROBINHOOD regularly conducts business in this county, unlawful acts or

    18       omissions have occurred in this county, and Plaintiff resides in this county.

    19                                           FACTUAL BACKGROUND
    20               9.       ROBINHOOD is a trading app and platform that lets investors trade stocks, options,

    21       exchange-traded funds and cryptocurrency.

    22               IO.      ROBINHOOD operates a website and mobile apps for iPhone, Apple Watch, and

    23       Android. The company has no storefront offices and operates entirely online from its headquarters

    24       in California.

    25               I 1.     ROBINHOOD has more than 10 million users and its customers place trades through

    26       its website or its "app".

    27               12.      ROBINHOOD has experienced significant growth as a relatively new online

    28       brokerage firm and has hastily brought on millions of clients without investing in the operational

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                                                  CLASS ACTION COMPLAINT

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                     1 capabilities to appropriately handle the trading for all of its clients.
                  2             13.     Over the past few years ROBINHOOD reportedly has increased from 6 million

                  3 subscribers in 2018, to 10 million by the end of2019 and surpassed 13 million subscribers in May
                  4 2020. 2

                  5             14.     In 2019, ROBINHOOD raised $323 million in funding at a $7.6 billion valuation.
                  6             15.     ROBINHOOD has extensively marketed itself to California consumers which has

                 7 fueled its expansion. Examples ofROBINHOOD's marketing slogans during this hasty expansion

                 8 period include:

                 9                      •      Jan. 6, 2018
                10

                II                                 Investing.
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                16
                                                   Robinhood lets you learn to invest in the stock
                                                   market for free.
                17 II I

                18 I II

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                21 II I

                22 I II

                23 II I

                24
                       2
                25   Maggie Fitzgerald, Start-up Robinhood Tops 10 Ali/lion Accounts Even as industry Follows in
                   Free-Trading Footsteps, CNBC (Dec. 4, 2019), https://www.cnbc.com/2019/12/04/start-up-
                26 robinhood-tops-10-million-accounts-even-as-industry-follows-in-free-trading-footsteps.html;
                27 Nathaniel Popper, Robinhood Has Lured Young Traders, Sometimes With Devastating Results,
                   N.Y. Times (July 8, 2020), https://www.nytimes.com/2020/07/08/technology/robinhood-risky-
                28 trading.html

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                                                              CLASS ACTION COlVIPLAINT

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                         1                    •          Jan. 1, 2019

                     2

                     3                                      Invest for Free
                     4

                     5
                                                          Invest in stocks, ETFs, options, and
                     6
                                                      cryptocurrencies, all commission-free,
                     7
                                                            right from your phone or desktop.
                     8
                                              •         July 1, 2019
                     9

                    10

                    11
                                                           Invest
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            .§      12                                     Commission-Free
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                    14                                     Invest in stocks, ETFs, options, and
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~      V    .,...
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                    15
r/)    ~ £                                                 right from your phone or desktop.
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>-<          "~
~           ~       16

                    17                       •          Jan. 1, 2020

                    18

                    19                                   Break Free from Commission Fees
                             Make unlJmited commission-free trades In stocks, funds, and options with Roblnhood FJnanclal. The same goes tor buying and selling
                    20                                        cryptocurrencles with Robinhood Crypto.Zero commission fees.

                    21

                    22                       •         May 28, 2020
                    23
                                                  Break Free from Commission Fees
                    24

                    25                    Make unlimited commission-free trades in stocks, ETFs, and
                    26                       options with Robinhood Financial, as well as buy and sell

                    27                  cryptocurrencies with Robinhood Crypto. See our fee schedule
                                                                         to learn more about cost.
                    28

                                                                                            5
                                                                          CLASS ACTION COMPLAINT

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          1           16.    The onboarding of so many clients by ROBINHOOD was done without regard as to

       2 whether it could adequately service its clientele as set forth herein. Moreover, ROBINHOOD's on-

       3 boarding allowed clients to open option accounts even though they lacked the appropriate level of
       4 experience. 3

       5             17.    On or around January 22, 2021, shares of stocks such as Gamestop Corp. ("GME")
       6 and others began to rise.

       7             18.    At that time, ROBINHOOD allowed retail investors to trade stocks on the open
       8 market.

      9              19.    On or about January 28, 2021, ROBINHOOD deprived Plaintiff and the members of

     10 the Class the ability to use its services by intentionally, abruptly, purposefully, willfully and

     11 knowingly preventing the legitimate trading of the BLOCKED STOCKS. Meaning, Plaintiff and

     12 the Class could no longer invest, day trade or, in some instances, even search for the BLOCKED

     13       STOCKS on ROBINHOOD.

     14              20.    ROBINHOOD's actions were done purposefully, knowingly and intentionally due

     15 to calls for capital that had been placed on it by the Depository Trust & Clearing Corporation

     16 ("DTCC"). 4 The DTCC is Wall Street's main clearinghouse for stock trades.
     17              21.    On the morning of January 28, 2021, the DTCC notified ROBINHOOD that it had

     18 to put up $3 billion in additional collateral as a cushion against the trades of its customers. According

     19 to Vlad Tenev, a co-founder ofROBINHOOD, this was "an order of magnitude more" than usually
     20 required.

     21              22.    ROBINHOOD, not having such capital reserves on hand, negotiated to reduce the

     22 amount being asked of it and in exchange for it having to post only $700 million ROBINHOOD

     23       agreed to limit trading, allowing customers to sell, but not buy, the BLOCKED STOCKS.
     24
              3
          Nathaniel Popper, Robinhood Has Lured Young Traders, Sometimes with Devastating Results,
     25 N.Y. Times (July 8, 2020) (noting "at least part ofRobinhood's success appears to have been built
        on a Silicon Valley playbook of behavioral nudges and push notifications, which has drawn
     26
        inexperienced investors into the riskiest trading").
     27       4
        Nathaniel Popper, et al., Robinhood, Under the Gun, Raises $2.4 Billion, N.Y. Times (Feb. 1,
    28 2021 ), https://www .nytimes.com/2021/02/01/business/robinhood-gamestop-trading.html

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                                               CLASS ACTION COMPLAINT

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           Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 11 of 44 Page ID #:16
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                            I           23.     Not all broker dealers reacted to the increase in trading volume by restricting trade

                        2 and restricting their customers as ROBINHOOD did. For example, another brokerage house took a

                        3 much more nuanced approach to protect itself. Rather than using the sledgehammer that

                        4 ROBINHOOD applied to its customers, this other company restricted trading in certain volatile

                        5 stocks by requiring purchasers to have the cash in their account to transact the purchase. Further, if

                        6 a customer had previously held any of the stocks on margin, that customer had to reduce the margin

                        7 balance to zero. Finally, for a short position a customer had to have a balance in their account of

                        8 300% of the value of the security shorted so as to hedge some of the risk if the price appreciated.

                        9 Instead of distinguishing between customers who had the cash to buy the BLOCKED STOCKS and

                       10 those that were doing so in other positions, ROBINHOOD restricted purchases by all of its clients.

                       11               24.    The Financial Industry Regulatory Authority ("FINRA") regulates broker dealers

                       12 like ROBINHOOD. FINRA's Rules and Guidance 5310.01 ("Best Execution and Interpositioning
11-<
.....:i         ·a"'
.....:i " s8           13 Rule") requires thatROBINHOOD "must make every effort to execute a marketable customer order
~j~
<O;       1;l   u.
.....:i   w w          14 that it receives promptly and fully." By not responding at all to some of its clients' orders to purchase
.....:i   ;>, ""
          (I),,-;

i:il 6 ~               15       BLOCKED STOCKS, ROBINHOOD breached this requirement, and caused substantial losses due
rF.l      il    ,.Q
~~zt                   16 solely to its own, and self-serving, intentional acts. As explained by ROBINHOOD in a recent blog
                ~


                       17 post: "[T]hat' s what led us to put temporary buying restrictions in place on a small number of

                       18 securities that the clearinghouses had raised their deposit requirements on. It was not because we

                       19 wanted to stop people from buying these stocks. We did this because the required amount we had

                       20 to deposit with the clearinghouse was so large-with individual volatile securities accounting for

                       21       hundreds of millions of dollars in deposit requirements-that we had to take steps to limit buying

                       22 in those volatile securities to ensure we could comfortably meet our requirements." 5 Simply put,

                       23       faced with additional deposit requirements ROBINHOOD could not meet, and lacking the

                       24 technology to restrict only certain accounts, ROBINHOOD choose a remedy that unnecessarily

                       25       violated the Best Execution Rule, and in so doing, put its own interests above those of its customers.

                       26

                       27       5
                            What happened this week, Robinhood Blog (Jan. 29, 2021 ),
                       28 https://blog.robinhood.com/news/2021/1/29/what-happened-this-week

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                                                                    CLASS ACTION COMPLAINT

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                         1       PLAINTIFF'S EXPERIENCE WITH ROBINHOOD AND THE BLOCKED STOCKS

                      2                 25.   On January 26, 2021, Plaintiff deposited $200 into his ROBINHOOD account to add

                      3 to his balance of $35.00 as he wanted to buy $235.00 of AMC stock at the market price of

                      4 approximately $8.00 per share. After placing that buy order on ROBINHOOD, Plaintiff decided to

                      5 place an order for additional shares of AMC and deposited $200 more into his account. Plaintiff

                      6 again placed a market order with ROBINHOOD. From his understanding and experience in having

                      7 traded on the ROBINHOOD platform for more than one year, Plaintiff thought that he was now the

                      8 owner of $435 of AMC stock and he did not check his account for the balance of the day.

                     9                  26.   On January 27, 2021, Plaintiff checked his account on his phone after waking up and
                    10 saw that AMC was now trading at around $16.00 per share. He was pleased that the value of his

                    11 AMC position had doubled overnight-or so he thought-until Plaintiff realized his ROBINHOOD

P.                  12 account still had $435 in cash and that he owned zero shares of AMC. Confused, as this had never
....1        '§
....1 " <B          13 happened to Plaintiff before when using ROBINHOOD, Plaintiff looked in his account history and
~       """' "'"'
~ "'~ u.
....1     ~         14 it showed that his market buys of AMC had been cancelled by ROBINHOOD without explanation.
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              >,    15       Plaintiff was confused and looked online where he discovered that many other ROBINHOOD users

~<!                 16 were reporting the same experience-market buys were being canceled by ROBINHOOD without

                    17 explanation.

                    18                  27.   Undeterred, on January 27, 2021, Plaintiff again tried using ROBINHOOD to buy

                    19 $435 worth of AMC at the price of $16.00 per share (double of what he originally "purchased" it at

                    20 the day before). Moments later Plaintiff saw that despite having the cash in his ROBINHOOD

                    21       account to buy the stock, his purchase was cancelled by ROBINHOOD once again. Nevertheless,

                    22 he again tried to place a market order on ROBINHOOD to buy AMC but this time for the lower

                    23       amount of $200 and his purchase was completed at $18.79 per share. This experience of having

                    24 small orders go through and others inexplicably cancelled by ROBINHOOD continued throughout

                    25       the day.

                    26              28.       On January 28, 2021, Plaintiff eagerly awoke at market open and saw that AMC was

                    27 now trading at around $8.63 per share. He decided this was a good opportunity to buy additional

                    28 shares but when he attempted to do so on ROBINHOOD, Plaintiff received the following message

                                                                              8
                                                                 CLASS ACTION CO!vlPLAINT

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                                                          1:'




          1 on his screen: "You can close out your position in this stock, but you cannot purchase additional

       2     shares." Far from the unlimited commission-free trades Plaintiff had been promised, ROBINHOOD

       3 was instead now promising only unlimited sales.

       4            29.     Plaintiff's experience was not unique and at times, some members of the Class could

       5 not even find certain stocks on the ROBINHOOD app, although all of those stocks are publicly
       6 traded companies available on other platforms.

       7            30.     Plaintiff and the members of the Class suffered harm directly as a result of

       8 ROBINHOOD's action as set forth herein.

       9                                           CLASS ALLEGATIONS

     10             31.     Plaintiff brings this action, on behalf of himself and all others similarly situated, as a

     11     class action.

     12             32.     Class Definition. The proposed Plaintiff Class that Plaintiff seeks to represent is

     13     composed of and defined as follows:

     14             All California residents who are or were ROBINHOOD customers from
                    January 2021 through the present who placed a purchase order with
     15             ROBINHOOD for a BLOCKED STOCK but that order was not fulfilled.

     16             33.     Plaintiff reserves the right to amend the class definition and to create subclasses, if

     17 necessary, to maintain a cohesive class that does not require individual inquiry to determine liability.

     18             34.     Excluded from the Class are: (a) Defendant and its officers, directors, employees,

     19 principals, affiliated entities, controlling entities, agents, and other affiliates; (b) the agents,

     20     affiliates, legal representatives, heirs, attorneys at law, attorneys in fact, or assignees of such persons

     21     or entities described herein; and (c) the Judge(s) assigned to this case and any members of their

     22     immediate families.

     23            35.      Plaintiff is a member of the Class he seeks to represent.

     24            36.      This action is properly maintainable as a class action.

     25            37.      The Class for whose benefit this action is brought is so numerous that joinder of all

     26     Class members is impracticable. While Plaintiff does not presently know the exact number of Class

     27 members, Defendant has millions of customers.

     28 / / /

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                                                  CLASS ACTION COMPLAINT

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                                                                      1:'




                      1            38.    The Class is readily ascertainable and direct notice can be provided from the records

                      2 maintained by Defendant, or by publication, the cost of which is properly imposed on Defendant.

                      3            39.   Plaintiff is committed to prosecuting this action and has retained competent counsel

                   4 experienced in litigation of this nature. Plaintiffs claims are typical of the claims of other Class

                   5 members and Plaintiff has the same interests as other Class members. Plaintiff has no interests that

                   6 are antagonistic to, or in conflict with, the interests of the other members of the Class. Plaintiff is a

                   7 more than adequate representative of the Class and will fairly and adequately protect the interests

                   8 of the Class.

                   9               40.   The prosecution of separate actions by individual Class members could create a risk

                 10 of inconsistent or varying adjudications with respect to individual members of the Class, which

                 11       could establish incompatible standards of conduct for Defendant or adjudications with respect to

p..,             12 individual members of the Class which would, as a practical matter, be dis positive of the interests
,..:i      -~
,..:i "'   <2    13 of the members of the Class not parties to the adjudications.
~j~
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      "' "'
                 14                41.   Furthermore, the expense and burden of individual litigation makes it impracticable
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.a     O   ;,,   15 for the individual members of the Class to redress the wrongs done to them individually. If a class
fg ~]
>-< >
~   Ji           16 action is not permitted, Class members will continue to suffer losses and Defendant's misconduct

                 17 will continue without proper remedy.

                 18                42.   Defendant has acted and refused to act on grounds generally applicable to the entire

                 19 Class, thereby making appropriate final injunctive relief or corresponding declaratory relief with

                 20 respect to the Class as a whole.

                 21               43.    Plaintiff anticipates no unusual difficulties in the management of this litigation as a

                 22 class action.

                 23               44.    For the above reasons, a class action is superior to other available methods for the

                 24 fair and efficient adjudication of this action.

                 25               45.    There are questions of law and fact which are common to Class members and which

                 26 predominate over any questions affecting only individual members of the Class. A class action will

                 27 generate common answers to the below questions, which are apt to drive the resolution of the

                 28       litigation:

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                                                              CLASS ACTION COJ'v!PLAINT

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Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 15 of 44 Page ID #:20




          I         a.    Whether ROBINHOOD owed a duty of good faith and fair dealing to Plaintiff

      2                  and members of the Class and, if so, whether that duty was breached resulting

      3                  in damage;

      4             b.   Whether ROBINHOOD owed a fiduciary duty to Plaintiff and members of

      5                  the Class, and, if so, whether that duty was breached resulting in damage;

      6             c.   Whether ROBINHOOD represented to Plaintiff and the members of the Class

      7                  that its services had certain characteristics, uses and benefits, a particular

      8                  quality, and/or were improperly advertised violating the California

      9                  Consumers Legal Remedies Act (Cal. Civ. Code§ 1750 et seq.);

     10             d.   Whether ROBINHOOD's actions relating to the provision of its service were

     11                  unlawful, unfair or fraudulent business acts or practices thereby violating

     12                  California's Unfair Competition Law (Cal. Bus. & Prof. Code § 17200 et

     13                  seq.);

     14             e.   Whether ROBINHOOD advertised its services to Plaintiff and the members

     15                  of the Class in a manner that was untrue and misleading thereby violating

     16                  California's False Advertising Law (Cal. Bus. & Prof. Code§ 17500 et seq.);

     17            f.    Whether ROBINHOOD owed a duty of care to Plaintiff and the members of

     18                  the Class which it breached resulting in damage;

     19            g.    Whether Defendant's conduct harmed Plaintiff and the Class and, if so, the

     20                  extent of the injury;

     21            h.    Whether this case may be maintained as a class action;

     22            i.    Whether and to what extent Class members are entitled to damages and other

     23                  monetary relief;

     24            J.    Whether and to what extent Class members are entitled to equitable relief

     25                  including, but not limited to, restitution and a preliminary and/or a

     26                  permanent injunction; and,

     27            k.    Whether and to what extent Class members are entitled to attorneys' fees

     28                  and costs.

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                                      CLASS ACTION COMPLAINT

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Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 16 of 44 Page ID #:21
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      I                                      FIRST CAUSE OF ACTION

      2                     Breach oflmplied Covenant of Good Faith and Fair Dealing

      3                                     (By Plaintiff Against Defendant)

      4          46.     Plaintiff repeats and realleges each and every allegation contained in the paragraphs

      5 above as though fully set forth herein.

      6          47.     In every contract or agreement there is an implied promise of good faith and fair

      7 dealing. This implied promise means that each party will not do anything to unfairly interfere with

      8 the right of any other party to receive the benefits of the contract or agreement.

      9          48.     As ROBINHOOD should have been aware, good faith means honesty of purpose

     IO without any intention to mislead or to take unfair advantage of another. Generally speaking, it means
     11   being faithful to one's duty or obligation.

     12          49.     ROBINHOOD violated its duty to act fairly and in good faith.

     13          50.     Plaintiff and the members of the Class entered into a relationship with ROBINHOOD

     14 as set forth herein, to wit, that Plaintiff and the Class would use the ROBINHOOD platform for

     15   "unlimited commission-free trading".

     16          51.     Plaintiff and the members of the Class did all, or substantially all, of the significant

     17 things that the agreement required of them to do or, as applicable, they were excused from having

     18 to do those things.

     19          52.     All conditions required for ROBINHOOD's performance had occurred, namely, that

     20 Plaintiff and Class members were entitled to perform "unlimited commission-free trading" of all

     21   securities as promised to them.

     22          53.     ROBINHOOD prevented Plaintiff and Class Members from receiving the benefits

     23   under the agreement as set forth above, namely, it prevented trading in the BLOCKED STOCKS

     24   and in fact, would allow only their sale so as to benefit ROBINHOOD.

     25          54.     By doing the acts set forth above, ROBINHOOD did not act fairly and in good faith.

     26          55.     Plaintiff and the Class were harmed by ROBINHOOD's conduct.

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                                               CLASS ACTION COMPLAINT

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Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 17 of 44 Page ID #:22
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          I                                     SECOND CAUSE OF ACTION

      2                                            Breach of Fiduciary Duty

      3                                         (By Plaintiff Against Defendant)

      4               56.     Plaintiff repeats and realleges each and every allegation contained in the paragraphs

      5 above as though fully set forth herein,

      6               57.     Broker dealers like ROBTNHOOD owe a fiduciary duty to their customers, such as

      7 Plaintiff and the members of the Class. This fiduciary duty imposed on ROBINHOOD required it

      8 to act competently, and with the utmost good faith in the best interests of Plaintiff and the members

      9 of the Class.

     10               58,    Plaintiff and the members of the Class as ROBINHOOD's customers trusted it to

     11       provide the services advertised and promised, namely, unlimited commission-free trading,

     12               59.    The fiduciary duty arising from the relationship between Plaintiff and the members

     13       of the Class, on the one hand, and ROBINHOOD, on the other hand, was breached when it prevented

     14 Plaintiff and members of the Class from freely trading in the BLOCKED STOCKS and access to

     15 their accounts and actual investment funds.

     16               60,    ROBINHOOD breach of its fiduciary duties directly and proximately caused damage

     17 to Plaintiff and the members of the Class,

     18                                         THIRD CAUSE OF ACTION

     19                               Violation of California Consumers Legal Remedies Act

     20                                         Cal. Civ. Code §§ 1750, et seq.

     21                                        (By Plaintiff Against Defendant)

     22              6L      Plaintiff repeats and realleges each and every allegation contained in the paragraphs

     23       above as though fully set forth herein,

     24              62,     ROBINHOOD's representations and/or concealments about the services it offered

     25       on its trading platform were false, misleading, and/or deceptive acts within the meaning of

     26       California consumer protection statutes including the Consumers Legal Remedies Act.

     27              63,     Plaintiff and members of the Class reasonably relied on the false, misleading, and/or

     28       deceptive representations and concealments of material facts by Defendant.

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                                                  CLASS ACTION CO!vlPLAINT

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         Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 18 of 44 Page ID #:23
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                       1               64.    Plaintiff and Class members are "consumers" within the meaning of California Civil
                    2 Code section 176l(d).

                    3                  65.   Defendant is a "person" within the meaning of California Civil Code section 1761 (c).
                    4                  66.   Plaintiffs and each Class member's use of ROBINHOOD's platform constitutes a
                    5 "transaction" within the meaning of California Civil Code section 1761 (e).

                    6                  67.   ROBINHOOD's trading platform is a "service" within the meaning of California
                    7 Civil Code section l 761(b) that was used by Plaintiff and members of the Class for personal use.

                    8                  68.   Defendant's statements regarding its services violated the Consumers Legal
                    9 Remedies Act (Cal. Civ. Code§ 1750, et seq.), in at least the following respects:

                   10                         a.     ROBINHOOD represented that its service had characteristics, uses and
                  11                                 benefits that it did not actually have (i.e., the ability the engage in unlimited

p...              12                                 commission-free trading of all stocks) in violation of Section l 770(a)(5);
~            ·@
~ " <El           13                          b.     ROBINHOOD represented that its service had a particular quality that it did
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~   ~ ~
       u"         14                                 not actually have (i.e., the ability the engage in unlimited commission-free
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Cl)     fl   .b   15                                trading of all stocks) in violation of Section l 770(a)(7); and
p::i ~ t
...... :>
:,.::        di   16                          c.    ROBINHOOD advertised their service with an intent not to sell it as
                  17                                advertised (i.e., that the service would allow for unlimited commission-free
                  18                                trading of all stocks), in violation of Section l 770(a)(9).
                  19               69.       ROBINHOOD falsely represented and/or concealed material facts regarding the
                  20 ability of consumers to trade on its platform, information that is relied upon by consumers, such as

                  21 Plaintiff and Class members, in making a decision about which services to use.

                  22               70.       Defendant's affirmative misrepresentations and material omissions, and its
                  23 publication of these material inaccuracies regarding the ROBINHOOD trading platform constitute

                  24 unfair, deceptive, and misleading business practices in violation of California Civil Code section

                  25       l 770(a).

                  26               71.       Plaintiff, on behalf of himself and the Class, seeks injunctive relief, only, on this
                  27 Cause of Action.

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                                                                  CLASS ACTION COMPLAINT

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Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 19 of 44 Page ID #:24




          1                                      FOURTH CAUSE OF ACTION

       2                               Violation of California Unfair Competition Law

       3                                      Cal. Bus. & Prof. Code § 17200, et seq.

       4                                         (By Plaintiff Against Defendant)

      5                72.    Plaintiff repeats and realleges each and every allegation contained in the paragraphs

      6 above as though fully set forth herein.

      7                73.    California Business and Professions Code section 17200 prohibits any "unlawful,

      8 unfair, or fraudulent business act or practice and unfair, deceptive, untrue or misleading

      9 advertising ... "

     10                74.    ROBINHOOD has engaged in unlawful, fraudulent, and unfair business acts and

     11       practices in violation of the UCL. There is no countervailing benefit to ROBINHOOD's conduct as

     12 complained of herein.

     13                75.   ROBINHOOD has engaged in unlawful acts or practices by its violations of the

     14 Consumers Legal Remedies Act (Cal. Civ. Code § 1750, et seq.), as set forth through the acts and

     15 practices alleged in this Complaint.

     16                76.   ROBINHOOD's affirmative misrepresentations and material omissions regarding

     17 the services it would provide constitute unfair, deceptive, and misleading business practices.

     18                77.   The information Defendant misrepresented and concealed would be and is material

     19 to reasonable consumers in that at no time did ROBINHOOD disclose that it would restrict trading

     20 for all of its customers without regard for the nature of the trading activity. Further, at no time did

     21       ROBINHOOD disclose that it did not have the capabilities to properly service its customers in the

     22 provision of its services as became evident when it restricted trading across the board relating to the

     23       BLOCKED STOCKS.

     24               78.     ROBINHOOD's conduct, misrepresentations, and omissions have also impaired the

     25       competition within the market it was attempting to service. ROBINHOOD was onboarding

     26       customers without regard to its own backend capabilities or the sophistication of its clientele to the

     27       detriment of its competitors.

     28       III

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                                                   CLASS ACTION COMPLAINT

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         Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 20 of 44 Page ID #:25




                        1            79.     Defendant's conduct, misrepresentations, and omissions have prevented Plaintiff

                        2 and Class members from making fully informed decisions about whether to use ROBINHOOD's

                        3 services and had they in fact known of the true nature ofROBINHOOD's services and capabilities,

                       4 they would not have placed their money with ROBINHOOD in the first place, instead putting their

                        5 hard-earned money with a different broker.

                       6             80.    Plaintiff and Class members have suffered an injury in fact, including the loss of

                       7 money and/or property, as a result of Defendant's unfair, unlawful, and/or deceptive practices, as

                       8 set forth herein.

                       9             81.   The wrongful conduct alleged herein occurred, and continues to occur, in the conduct

                      10 of Defendant's business. Defendant's wrongful conduct is part of a pattern or generalized course of

                      11    conduct that is still perpetuated and repeated, in the State of California.

p..,                  12            82.     Plaintiff requests that this Court enjoin ROBINHOOD from continuing its unfair,
~            "§
~ ~          <El      13 unlawful, and/or deceptive practices and to restore Plaintiff and Class members any money
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<r; "' u_
~ ~ ~                 14 Defendant acquired through Defendant's unfair competition including, but not limited to, restitution.
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p::i     a~           15                                       FIFTH CAUSE OF ACTION
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                      16                              Violation of California False Advertising Law

                      17                                  Cal. Bus. & Prof. Code § 17500, et seq.

                      18                                     (By Plaintiff Against Defendant)

                      19           83.     Plaintiff repeats and realleges each and every allegation contained in the paragraphs

                      20 above as though fully set forth herein.

                      21           84.     California Business and Professions Code section 17500 states: "It is unlawful for

                      22 any ... corporation ... with intent directly or indirectly to dispose of real or personal property ...

                      23 to induce the public to enter into any obligation relating thereto, to make or disseminate or cause to

                      24 be made or disseminated ... from this state before the public in any state, in any newspaper or other

                      25 publication, or any advertising device, ... or in any other manner or means whatever, including over

                      26 the Internet, any statement ... which is untrue or misleading, and which is known, or which by the

                      27 exercise of reasonable care should be known, to be untrue or misleading."

                      28 /II

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                                                                 CLASS ACTION COJVIPLAINT

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         Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 21 of 44 Page ID #:26
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                            1            85.    ROBINHOOD engaged in advertising and marketing in which it caused statements

                        2 to be made or disseminated throughout California about the ability of consumers to engage in

                        3 unlimited commission-free trading with intent to directly or indirectly induce consumers like

                        4       Plaintiff and Class members to use ROBINHOOD.

                        5               86.     ROBINHOOD's statements about unlimited commission-free trading were false,

                        6 misleading, and likely to deceive the public and/or have deceived the public by falsely representing

                        7 the characteristics of them, as set forth above.

                        8               87.     At the time Defendant made and disseminated the statements alleged herein, it knew

                        9 or should have known that the statements were untrue or misleading, and Defendant acted in

                       10 violation of California Business and Professions Code section 17500.

                       11               88.     ROBINHOOD's statements regarding unlimited commission-free trading were

                       12 material to Plaintiffs and Class members' decision to use the platform, and Plaintiff and Class
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...:i        ·s"'
...:i " <8             13       members reasonably relied on Defendant's statements.
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~       "u.            14               89.     Had Plaintiff and Class members known that in fact ROBINHOOD did not intend to
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        >-,  ~
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~       4)   .......
µ:i      E :,::        15       offer unlimited commission-free trades on all stocks and that it would instead restrict trading in the
r/J     :§ £
~<!                    16 BLOCKED STOCKS as set forth herein, they reasonably would not have become ROBINHOOD

                       17 customers.

                       18               90.     Plaintiff and members of the Class suffered an injury in fact, including the loss of

                       19 money or property, as a result of Defendants' unfair, unlawful or deceptive practices.

                       20               91.     Plaintiff, on behalf of himself and on behalf of the Class, seeks restitution, injunctive

                       21       relief, and all other allowable relief under Business and Professions Code section 17500.

                       22                                             SIXTH CAUSE OF ACTION

                       23                                                     Negligence

                       24                                         (By Plaintiff Against Defendant)

                       25               92.     Plaintiff repeats and realleges each and every allegation contained in the paragraphs

                       26       above as though fully set forth herein.

                       27               93.    ROBINHOOD owed a duty ofreasonable care to Plaintiff and the Class with respect

                       28       to the provision of their services.

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                                                                       CLASS ACTION COMPLAINT

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        Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 22 of 44 Page ID #:27
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                     1          94,    ROBINHOOD breached its duties to Plaintiff and the members of the Class by failing

                     2 to execute trades in accordance with the FINRA Best Execution Rule. This failure was a result of,

                     3 among other things, not having sufficient back office operations that would allow ROBINHOOD to

                     4   take minimally restrictive actions so as to address the events and circumstances that transpired

                     5 during the relevant period.

                     6          95,    As a direct and proximate result ofROBINHOOD's actions, Plaintiff and the Class

                     7 suffered damage,

                     8                                       PRAYER FOR RELIEF

                     9          Plaintiff, on behalf of himself and other putative Class members, prays for judgment against

                    10   ROBINHOOD as follows:

                    11          L      An order certifying the proposed Class, designating Plaintiff as the named

P-<                 12                 representative of the Class, and designating the undersigned as Class Counsel;
...:i       '§
...:i               13          2.     A declaration that Defendant is required to provide notice to the Class and to pay for
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        ~    ~      14                 such Notice;
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B:J!.a              15          3,     An award to Plaintiff and the Class of damages in an amount to be proven at trial on
~ ~          ti~
                    16                 all Causes of Action except Three through Five;
            il'.l

                    17         4.      For injunctive relief on Counts Three through Five, and any other equitable relief

                    18                 allowed by law on Counts Four and Five;

                    19         5,      An award of prejudgment and post-judgment interest, as provided by law;

                    20         6.      An award of attorneys' fees and costs, as allowed by law; and

                    21         7.      For such other and further relief as the Court may deem just and proper.

                    22 DATED: February 8, 2021                    Respectfully submitted,

                    23                                            KIESEL LAW LLP
                    24

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                                                                  By:
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                                                            CLASS ACTION COMPLAINT
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       Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 23 of 44 Page ID #:28




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                                                   Tel: 415-438-4515
                 12                                Fax: 415-434-4505
         'E"'l
A.
....:I
....:I " s9      13                                Attorneys for Plaintiff TAYLOR THOMPSON,
~j~
<I; 1" u.                                          on behalf of himself and all other California
....:I ~ ~       14
H ;,,     ""
       v .....
                                                   residents similarly situated
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                                         CLASS ACTION COMPLAINT

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Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 24 of 44 Page ID #:29
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          I                                   DEMAND FOR JURY TRIAL

      2             Plaintiff, on behalf of himself and on behalf of the Class, demands a jury trial on all issues

      3 so triable.

      4       DATED: February 8, 2021                  Respectfully submitted,

      5                                                KIESEL LAW LLP
      6

      7
                                                       By:
      8
                                                             Jeffrey A. Koncius
      9
                                                             Cherisse H. Cleofe
     10
                                                             RICHARD C. DALTON, LLC
     11                                                      Richard C. Dalton

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                                                             Fax: 415-434-4505
     22
                                                             Attorneys for Plaintiff TAYLOR THOMPSON,
     23                                                      on behalf of himself and all other California
                                                             residents similarly situated
     24

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                                               CLASS ACTION COMPLAINT

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Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 25 of 44 Page ID #:30


                                                                                                                                                         CM 010                  .
  ...!!HORNEY OR PARTY \MTHOUT ATTORNEY ram5 state Bar number, and address);                                                         r:oRcouRt usE oNt!oPY
       Paul R. Kiesel, State Bar No. I 98 4                                                                                       CONFORMED
       Jeffrey A. Koncius, State Bar No. l 89803                                                                                    ORIGINAL FILED
        Cherisse H. Cleofe, State Bar No. 290152                                                                                   suparlt,r Court of Oallfornla
                                                                                                                                     Cou1,ty of Los Angeles
           TELEPHONE NO.c
      ATTORNEY FOR (Name):
                                   ?laintiff
        Kiesel Law LLP, 8648 Wilshire Blvd., Beverly Hills, CA 90211
                            f 0) 854-4444             FAXNO.c (310) 854-0812
                                                                                                                                           FEBO 8 2021
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF                     Los Angeles
          sTREET ADDRess,          111 N. Hill Street
          MAILING ADDRESS,         111 N. Hill Street                                                                      Sherli R. carter, Executive Ollicer/Clark of Gou t
         c1Tv ANDz1ecoDEc          Los An¥;les 90012
             BRANCH NAME,          Central istrict
       CASE NAME:
       Tavlor Thompson v. Robinhood Financial LLC

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          CIVIL CASE COVER SHEET
             Unlimited               D     Limited
                                                                          Complex Case Designation
                                                                                                                       CASENZ1STCV04909
             (Amount                       (Amount                    D      Counter    D         Joinder
                                                                                                                        JUDGE:
             demanded                      demanded is               Filed with first appearance by defendant
             exceeds $25,000)              $25,000 or less)              (Cal. Rules of Court, rule 3.402)               DEPT:
                                               Items 1-6 below must be comaleteri (saeinstru"ctions on page 2).
  1. Ch6ck one box below for the case type that best deScfibes·this case:

        B
     Auto Tort
            Auto(22)
                                                     Contract
                                                                   D
                                                           Breach of contractlwarranty (06)
                                                                                                              Provisionally Complex Civil Litigation
                                                                                                              (Cal. Rules of Court, rules 3.400-3.403)
                                                                                                              o· AntitrusVTrade regulation (03)
        __ Uninsured motorist (46)
     Other PI/PD/WD (Personal Injury/Property
     Oiintage/VVr'oi_t{Jful Death) Tort
                                                                   B
                                                           Rule 3.740 collections (09)
                                                           Other collections {09)
                                                                   D
                                                           Insurance coverage (18)
                                                                                                              D
                                                                                                              D
                                                                                                                      Construction defect {10)
                                                                                                                      Mass tort (40}
        D
        B   Asbestos (04)
            Product liablllty (24)
            Medical malpractfce (45)
                                                     ReaJ Property
                                                                   .D
                                                           other contract (37)

                                                                   D
                                                                                                              D
                                                                                                              D
                                                                                                                      Securities litigation {28)
                                                                                                                      Environmental/Toxic tort (30)

        D   Other Pl/PD/WO (23)
                                                           Eminent domain/Inverse
                                                           condemnation {14)
                                                                                                              D       Insurance coverage claims arising from the
                                                                                                                      above listed provisionally complex case
     Non-PIIPD/WD (Other) Tort                                     O_
                                                           Wrongful eviction (33)                                     types (41)
     [Z] Business tort/unfair business practice (07)       Other   D
                                                                 real property (26)         Enforcement of Judgment
        D Civil rights (06)                       Unlawful Detainer                                           D
                                                                                                  Enforcement of judgment (20)
        D Defamation (13)                                          D
                                                        Commercial (31)                     Mlsc_ellaneous Civil Complaint
        D Fraud (16)                                               D
                                                        Residential (32)                          RIC0(27)    D
        D Intellectual property (19)                    Drugs(36)  D                                          o·
                                                                                                  Other complafnt (not specified above) (42)
        D Professional negligence (25)            Judicial Review                           Miscellaneous Civil Petition
        D Other non-Pl/PD/WO tort (35}                             D
                                                        Asset forfeiture (05)
                                                                                                              O_
                                                                                                  Partnership and corporate governance (21)
        Employment                                                 D
                                                        Petition re: arbitration award (11)
                                                                                                              D
                                                                                                  Other petition (not specified above) (43)
        D Wrongful termination (36)                                D
                                                        Writ of mandate (02)
        D Other employment (15)                                    D
                                                        Other Judicial review (39)
 2. This case l___.l__J Is  .LJ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring ·exceptional judicial management:
        a. [LI       Large number of separately represented parties                d. [Z] Large number of witnesses
        b.[LJ        Extensive motion practice raising difficult or novel          e,   D   Coordination with related actions pending in one or more courts
                     issues that will be time-consuming to resolve                          in other counties, states, or countries, or in a federal court
        c.   [Z]     Substantial amount of documentary evidence                    f.   D   Substantial posijudgmentjudicial supervision
 3. Remedies sought (check all that apply): a.[2] monetary                        b. [ZJ nonmonetary; declaratory or injunctive relief                        c. Opunitive
 4. Number of causes of action {specify): 6
 5. Thls case             ClJ is         D     is not      a class action suit.
 6.      If.there are ...                                                                .. o·u·TTJ ,{'use fonn CM-015.)
                                                                                     .. (Y,
                      any kn.awn related cases, file and serve a notice of related caseWlff
 Date: February 8, 2021                                                                     .._
 Jeffrey A. Koncius                                                                         !".
                                    (TYPE OR PRINT NAME}                                    '----'-----''-,,!/;;IG~NrrAT~U~R~E~O~F~P/\R=TY~O~R'A~JT~O~R~N~EY=Fo~R~P~AR~TYJ=----
                                                                                  NOTICE
      • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
        under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
        in sanctions.
      • FIie this cover sheet in addition to any cover sheet required by local court rule.
      • If this case is comp/ex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
        other parties to the action or proceeding.
      • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                                                           P:1111e 1 of2
 Form Adopted for Msndalory Use                                                                                            Cal. Rules of Court, rules 2.30, 3.220, 3.400--3.403, 3.740;
   Judlciaf Council of California                                  CIVIL CASE COVER SHEET                                          Cal. Standards of Judicial Admlnlsllatlon, std, 3,10
      CM-010 [Rev. July 1, 2007]                                                                                                                                 www.courtinro.ca.gov


                                                                                   25
   Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 26 of 44 Page ID #:31

                                                                                                                                             CM-010
                                      INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
  To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
  complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
  statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
  check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
  To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
  sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
  its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3. 740 collections case on this fonm means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3. 740.
 To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.
                                                           CASE TYPES AND EXAMPLES
 Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (1 O)
           case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
          moton·st claim subject to                      Contract/Warranty Breach-Seller                 Securities Litigation (28)
           arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contracl/                   Insurance Coverage Claims
Other PI/PDIWD (Personal Injury/                              Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death}                          Other Breach of Contract/Warranty                   case type listed above) {41)
Tort                                                 Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
          Asbestos Personal Injury/                      Other Promissory Note/Collections                        County)
                Wrongful Death                                Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or              Insurance Coverage (not provisionally                        domestic relations)
          toxic/environmental) (24)                      complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice-                           Other Coverage                                         (not unpaid taxes)
                 Physicians & Surgeons               Other Contract (37)                                     Petition/Certification of Entry of
         Other Professional Health Care                   Contractual Fraud                                     Judgment on Unpaid Taxes
                 Malpractice                              Other Contract Dispute                             other Enforcement of Judgment
    other Pl/PD/WO (23)                          Real Property                                                    Case
         Premises Liability (e.g., slip              Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                and fall)                                 Condemnation (14)                              RICO (27)
         Intentional Bodily Injury/PD/WO             Wrongful Eviction (33)                              Other Complaint (not specified
                (e.g., assault, vandalism)                                                                  above) (42)
                                                     other Real Property (e.g., quiet title) (26)
         Intentional Infliction of                                                                          Declaratory Relief Only
                                                         Writ of Possession of Real Property
                Emotional Distress                                                                          Injunctive Relref Only (non-
                                                          Mortgage Foreclosure
         Negligent Infliction of                                                                                 harassment)
                                                         Quiet Title
                Emotional Distress                                                                          Mechanics Lien
                                                         Other Real Property (not eminent
         Other PI/PD/WD                                                                                     Other Commercial Complaint
                                                         domain, landlordAenant, or
Non-PI/PDIWD (Other) Tort                                                                                        Case (non-tort/non-complex)
                                                         foreclosure)
                                                 Unlawful Detainer                                          Other Civil Complaint
    Business Toii/Unfair Business
                                                                                                                (non-tort/non-complex)
       Practice (07)                                 Commercial (31)
                                                                                                     Miscellaneous Civil Petition
    Civil Rights (e.g., discrimination,              Residential (32)                                    Partnership and Corporate
        false arrest) (not civil                     Drugs (38) (if the case involves illegal                Governance (21)
         harassment) (08)                                drugs, check this item; otherwise,              Other Petition (not specified
    Defamation (e.g., slander, libel)                    report as Commercial or Residential)
           (13)                                                                                              above) (43)
                                                 Judicial Review                                             Civil Harassment
   Fraud (16)                                       Asset Forfeiture (05)                                    Workplace Violence
   Intellectual Property (19)                       Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
   Professional Negligence (25)                     Writ of Mandate (02)                                          Abuse
        Legal Malpractice                                Writ-Administrative Mandamus
                                                                                                             Election Contest
        Other Professional Malpractice                   Writ-Mandamus on Limited Court
                                                                                                             Petition for Name Change
             (not medical or legaO                           Case Matter                                     Petition for Relief From Late
    Other Non-PI/PD/WD Tort (35)                         Writ-Other Limited Court Case                            Claim
Employment
                                                             Review                                          Other Civil Petition
   Wrongful Termination (36)
                                                    Other Judicial Review (39)
   Other Employment (15)                                 Review of Health Officer Order
                                                         Notice of Appeal-Labor
                                                            Commissioner A ears
CM-010 [Rev. July 1, 2007)                                                                                                                   Page 2 of 2
                                                     CIVIL CASE COVER SHEET


                                                                         26
Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 27 of 44 Page ID #:32




               TITLE·Tay Ior Th ompson v. Rob'mhoo d f'1nanc1a
                                                            . I, LLC                                         CASE NUMBER
  SHORT
                                                                                                                            21STCV04909
                                    CIVIL CASE COVER SHEET ADDENDUM AND
                                            STATEMENT OF LOCATION
                     (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                    This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.



        Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                       Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


        Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

        Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                       chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column CJ

1. Class actions must be flied in the Stanley Mask Courthouse, Central District.          7. Location where petilioner resides.
2. Permissive fiflng in central district.                                                 8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                  9. Location Vv'here one or more of the parties resfde.
4. Mandatory personal injury filing in North District.                                  10. Location of Labor Commissioner Office.
                                                                                        11. Mandatory filing location (Hub Cases- unlawful detainer, limited
5. Location \Mlere performance required or defendant resides.
                                                                                        non-collection, limited collection, or personal injury).
6. Location of property or pennanently garaged vehicle.



                                                                                                                       ..


                                   A                                                           B                                                             C
                        Clvil Case Cover Sheet                                           Type of Action                                            Applicable Reasons -
                              Category No.                                              (Check only one)                                            See Step 3 Above

                               Auto (22)            D    A7100 Motor Vehicle - Personal Injury/Property DamageNVrongful Death                     1, 4, 11
   .e ..,
   " ....
      0
   c(                   Uninsured Motorist (46)     D    A7110 Personal Injury/Property DamageMfrongful Death - Uninsured Motorist               1,4, 11
                                                                                                                                  .                                  .




                                                    D    A6070 Asbestos Property Damage                                                          1, 11
                            Asbestos (04)
   ~..,                                             D    A7221 Asbestos - Personal Injury/Wrongful Death                                         1, 11
   !. ~                                                                                                      .~


   e :5
   a. ..
                         Product Liability (24)     D    A7260 Product Liability (not asbestos or toxic/environmental)
                                                                                                      . ..        ..
                                                                                                                                                 1, 4, 11

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                                                                                                                                           .

                                                                                                                                                  1, 4, 11
    " .E-
   ·c                  Medical Malpractice (45)
                                                    D    A7210 Medical Malpractlce- Physicians & Surgeons

   --"'0;;::-"'"'
   ..      0
                                                    D    A7240 other Professional Health Care Malpractice                                        1, 4, 11



   . "'
   I!! 'ii
   a. ..
   l;; E
                           Other Personal
                           Injury Property
                                                    D
                                                    D
                                                         A7250 Premises Liability {e.g., slip and fall)
                                                         A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                                 1, 4, 11
                                                                                                                                                 1, 4, 11
   5~                     Damage Wrongful
                             Death (23)             D
                                                               assault, vandalism, etc.)
                                                         A7270 Intentional Infliction of Emotional Distress                                      1, 4, 11

                                                    D    A7220 Other Personal Injury/Property OamagefVVrongful Death                             1, 4, 11




  LACIV 109 (Rev 2116)                            CIVIL CASE COVER SHEET ADDENDUM                                                              Local Rule 2.3
  LASC Approved 03-04                                AND STATEMENT OF LOCATION                                                                   Page 1 of4



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    Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 28 of 44 Page ID #:33


I
SHORT TITLE:
                   Taylor Thompson v. Robinhood Financial, LLC
                                                                                                                                                      CASE NUMBER




                   I .
                       Civil
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                               c·ase ACover. Sheet               <.' _.-.                                                     <.·· a··-•·                             -c
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                   I                                                                                                           Typ·e·ofActiOn                                                                -- S~e :step_ 3_
                       __ ....qa_te_g()iy _NO:      ·, · _:.:,   ._.·.·                                                       (Check          only on~)
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                         .      -.   '   .   . ·.                           ''          '       ..·   ..   .·   .··.    ·.'                               ·,· .   .    _-_.   --·   ·-.

                          Business Tort (07)                                     Ii! A6029 other Commercial/Business Tort (not fraud/breach of contract)                                              1),3

    . ,_
    >,
    1:: 0
    a..c
             1::
                             Civil Rights (08)                                   D    A6005 Civil Rights/Discrimination                                                                               1, 2, 3
    erts
    a. ..                    Defamation (13)                                     D    A6010 Defamation (slander/libel)
    ~e
    :,       :,
                                                                                                                                                                                                      1, 2, 3


    -'i? 'S, C:                 Fraud (16)                                       D   A6013 Fraud (no contract)                                                                                        1, 2, 3
    '"oS:
    C:
          0
             ~

                                                                                 D   A6017 Legal Malpractice                                                                                          1, 2, 3
    I!? "ii
    . . C)          Professional Negligence (25)
    a. ..                                                                        D   A6050 other Professional Malpractice (not medical or legal)
    c: E
    0        ..
                                                                                                                                                                                                      1, 2, 3
    zc
                                other (35)                                       D   A6025 Other Non-Personal Injury/Property Damage tort                                                             1,2,3


        -.
        C:

        E
        >,
                     Wrongful Termination (36)                                   D   A6037 Wrongful Termination                                                                                       1, 2, 3


      .2                                                                         D   A6024 Other Employment Complaint Case                                                                            1, 2, 3
       a.              Other Employment (15)
       E                                                                         D   A6109 Labor Commissioner Appeals                                                                                 10
      w

                                                                                 D A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                                                                                      2,5
                                                                                             eviction)
                    Breach of Contract/ Warranty                                                                                                                                                      2,5
                                (06)                                             D   A6008 Contract/VVarranty Breach -Seller Plaintiff (no fraud/negligence)
                          (not insurance)                                        D   A6019 Negligent Breach of Contract/VVarranty (no fraud)                                                          1, 2, 5

                                                                                 D                                                                                                                    1, 2, 5
                                                                                     A6028 Other Breach of ContracVWarranty (not fraud or negligence)

     0                                                                           D   A6002 Collections Case-Seller Plaintiff                                                                         5, 6, 11
     1: C:
                             Collections (09)
                                                                                 D   A6012 Other Promissory Note/Collections Case
        0                                                                                                                                                                                            5, 11
     (.)
                                                                                 D   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                                                5, 6, 11
                                                                                           Purchased on or after Januaiv 1 2014'

                      Insurance Coverage (18)                                    D   A6015 Insurance Coverage (not complex)                                                                          1, 2, 5,8

                                                                                 D   A6009 Contractual Fraud                                                                                         1, 2, 3, 5
                        Other Contract (37)                                  D       A6031 Tortious Interference                                                                                     1,2,3,5
                                                                             D       A6027 other Contract Dispute(not breach/insurance/fraud/negligence)                                             1, 2, 3,8, 9

                      Eminent Domain/Inverse
                                                                             D A7300 Eminent Domain/Condemnation                                          Number of parcels___                       2,6
                        Condemnation (14)
     ~..e
     a.                Wrongful Eviction (33)                                D       A6023 Wrongful Eviction Case                                                                                    2,6
    a.
    '""'.             Other Real Property (26)                              D
                                                                             D A6018 Mortgage Foreclosure
                                                                                     A6032 Quiet Title
                                                                                                                                                                                                     2,6
                                                                                                                                                                                                     2,6
                                                                            D        A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)                                    2,6



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     C:
    ·.;
                   Unlawful Detainer-Commercial
                               (31)

                   Unlawful Detainer-Residential
                                                                            D        A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)                                             6, 11


    1;J
                               1321                                         D        A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)                                            6, 11
    Cl
    3                   Unlawful Detainer-
                                                                            D
    1c                 Post-Foreclosure r34,
                                                                                     A6020F Unlawful Detainer-Post-Foreclosure                                                                       2, 6, 11

    ::::,          Unlawful Detainer-Drugs (38)                             D        A6022 Unlawful Detainer-Drugs                                                                                   2, 6, 11



LACIV 109 (Rev 2/16)                                                 CIVIL CASE COVER SHEET ADDENDUM                                                                                             Local Rule 2.3
LASC Approved 03-04                                                     AND STATEMENT OF LOCATION                                                                                                    Page 2 of4

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ISHORT TITLE:                                                                                                                                              I
                                                                                                                                                                                                                                 I
                                                                                                                                                           CASE NUMBER
                             Taylor Thompson v. Robinhood Financial, LLC

                                            . A         ·.                                 •.                       .               ·.
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                                                                                                                                                               · ..   ·.        ..
                                                                                                                                                                                      ·.·   '          C Applicable
                                 CiVil   cas·e Co\/er She"et        •••••
                                                                                                                                          Typ¢-ofA,Ctio~                                        ,Reasons_  -:~_ee step· 3
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                                                                                                                                                     '-·         < ·..• .   /        >           .. _ ____ ._Abo_ve_ .. _ ____

                                  Asset Forfeiture (05)                         D    A6108 Asset Forfeiture Case                                                                                2, 3, 6

                                Petition re Arbitration (11)                    D    A6115 Petition to Compel/ConfirmNacate Arbitration                                                         2, 5
              ~
             ·;;:

             "'·;:;"'
             «i
                                  Writ of Mandate (02)
                                                                             D
                                                                             D
                                                                                     A6151 Writ - Administrative Mandamus
                                                                                     A6152 Writ - Mandamus on Limited Court Case Matter
                                                                                                                                                                                                2,8
                                                                                                                                                                                                2
             '5
              ::,
             --,                                                             D       A6153 Writ - Other Limited Court Case Review                                                               2

                               Other Judicial Review (39)                    D       A6150 other Writ /Judicial Review                                                                          2,8

                             Antitrust/Trade Regulation (03)                 D       A6003 AntitrusUTrade Regulation                                                                            1,2,8
              C:
              0
            ~                   Construction Defect (10)                     D       A6007 Construction Defect
            .2'                                                                                                                                                                                 1,2,3
            '.:i
            ><                 Claims Involving Mass Tort
                                                                             D       A6006 Claims Involving Mass Tort
            "'
            C.                               (40)                                                                                                                                               1, 2, 8
            E
             0
            u                   Securities Utigation (28)                    D       A6035 Securities Litigation Case                                                                           1, 2, 8
            .2:-
            «i
             C:                        Toxic Tort
             0                                                              D        A6036 Toxic Tori/Environmental                                                                             1, 2, 3, 8
           ·.;                     Environmental {30)
            ·;;:
            e
           ll.
                              Insurance Coverage Claims
                                                                            D        A6014 Insurance Coverage/Subrogation (complex case only)                                                1, 2, 5, 8
                                from Complex Case (41)

                                                                            D        A6141 Sister State Judgment                                                                            2, 5, 11

    -"' -"'
     C:

     E E
                   C:
                         .




                                      Enforcement
                                                                            D       A6160 Abstract of Judgment
                                                                            D A6107 Confession of Judgment {non.domestic relations)
                                                                                                                                                                                            2,6
                                                                                                                                                                                            2,9
                 ..,
    --
     "'            Cl
     !::!                          of Judgment (20)                         D       A6140 Administrative Agency Award {not unpaid taxes)
     0             ::,                                                                                                                                                                      2,8
     C:          -,
    w              0                                                        D A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax                                                2,8
                                                                            D       A6112 Other Enforcement of Judgment Case                                                                2, 8, 9


     .
     ::,
     0
               J!l
               ~
                C:
                                         RICO (27)                          D

                                                                            D
                                                                                    A6033 Racketeering (RICO) Case

                                                                                    A6030 Declaratory Relief Only
                                                                                                                                                                                            1, 2, 8

                                                                                                                                                                                            1, 2, 8
    "'
     C:
    .!!!
               C.
               E
    '"~." ~u
                 0                 other Complaints                         D       A6040 Injunctive Relief Only (not domestic/harassment)                                                  2,8
                              (Not Specified Above) (42)                    D       A6011 Other Commercial Complaint Case (non·torUnon·compfex)                                             1, 2, 8
              u                                                             D       A6000 Other Civil Complaint (non-torUnon-complex)                                                       1, 2, 8

                               Partnership Corporation
                                                                            D       A6113 Partnership and Corporate Governance Case                                                         2,8
                                  Governance {21)


    .. .
    ::,
    0
                C:
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                                                                            D
                                                                            D
                                                                                    A6121 Civil Harassment
                                                                                    A6123 Workplace Harassment
                                                                                                                                                                                            2, 3, 9
                                                                                                                                                                                            2,3,9
    "' "'
    C:
       ~                                                                    D       A6124 Elder/Dependent Adult Abuse Case                                                                  2, 3, 9
    "' ll.                       Other Petitions (Not


 ~
    .."
 'iii
             ~
             u
                                Specified Above) (43)                    D
                                                                         D
                                                                                    A6190 Electron Contest
                                                                                    A6110 Petition for Change of Name/Change of Gender
                                                                                                                                                                                            2
                                                                                                                                                                                            2, 7
                                                                         D          A6170 Petition for Relief from Late Claim Law
                                                                                                                                                                                            2,3,8
                                                                         D          A6100 Other Civil Petition
                                                                                                                                                                                            2,9




LACIV 109 (Rev 2/16)                                               CIVIL CASE COVER SHEET ADDENDUM                                                                                   Local Rule           2.3
LASC Approved 03-04                                                   AND STATEMENT OF LOCATION                                                                                             Page 3 of 4

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   Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 30 of 44 Page ID #:35


 SHORT TITLE:                                                                            CASE NUMBER
                Taylor Thompson v. Robinhood Financial, LLC



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                     ADDRESS:
   REASON:
                                                                    Pursuant to Local Rule 2.3.(a)(1)(A) - Class Actions to be filed
    "1 1. D 2. D 3. D 4. 0 5. D 6. D 7. D 8. D 9. D 10. D 11.       in Central District



   CITY:                                    STATE:     ZIP CODE:




Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                          District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(l)(E)l.




  Dated: February 8, 2021




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1.   Original Complaint or Petition.

      2.    If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3.   Civil Case Cover Sheet, Judicial Council form CM-010.

      4.    Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
            02/16).

      5.    Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.

      6.    A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
            minor under 18 years of age will be required by Court in order to issue a summons.

      7.    Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
            must be served along with the summons and complaint, or other initiating pleading in the case.




 LACIV 109 (Rev 2116)                    CIVIL CASE COVER SHEET ADDENDUM                                                Local Rule 2.3
 LASC Approved 03-04                        AND STATEMENT OF LOCATION                                                     Page 4 of 4

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Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 31 of 44 Page ID #:36



                                                                                                                                                         SUM-100
                                            SUMMONS                                                                         FOR COURT USE ONLY
                                                                                                                        (SOLO PARA USO DE LA CORTE)
                                   (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
                                                                                                                    CONFORMED COPY
 (AV/SO AL DEMANDADOJ:                                                                                                ORIGINAL FILED
                                                                                                                     suPertor ·court_ of C_all,fornla
  ROBINHOOD FINANCIAL LLC                                                                                               county of t.o.s Ang_eles



 YOU ARE BEING SUED BY PLAINTIFF:
                                                                                                                            FEBO 8 2021
 (LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                               $ltenl R. Caner, executiVa Olllcer/Gla.1k of Gourt
  TAYLOR THOMPSON, on behalf of himself and all other California
  residents similarly situated
                                                         .
                                                                                                                                           .

  NOTICE! You have been sUBd. The court may de-cide against you without your being heard unless you respond within 30 days. Read the Information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
   served on the plaintiff. A letter or phone call wlll not protect you. Your written response must be in proper legal form If you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/se/fhefp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk far a fee walver"tarm. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken _without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofitlegal services program. You can locate
  these nonprofit groups at the Californla Legal Services Web site (www.fawhelpcalifornia.org), the Callfomia Courts Online Self-Help Center
  (www,courtinfo,ca.gav/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more In a civil case. The court's lien must be paid before the court will dismiss the case.
  1A VISOI Lohan demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su vers/6n. Lea la informaci6n a
  continuaci6n.
     Tiene 30 DfAS DE CA LENDARIO despu~s de que le entreguen esta citaci6n y pape/es legates para presentar una respuesta par escrito en esta
  corte y hacer que se entregue una copia al demandante. Una carta o una flamada telef6nica no lo protegen. Su_ respuesta por escrlto tlene que a star
  en Formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un farmulario qua usted pueda USiilf para su respuesta_,
  Puede encontrar estos farmu/arios de la carte y mBs informaci6n en el Centro de Ayuda de /as Cortes de California (www.sucorte.ca.govJ, an la
  biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puade pagar la cuota de presentaci6n, pida al secretario de la carte
  que led~ un formulario de exencl6n de pago de cuotas. SI no presents su respuesta a tiempo, puede perder al caso por incumplimiento y la corle le
  podta quitar su sue/do, dinero y bienes sin m~s advertencia.
    Hay otros requisitos legate~. Es recamendabfe que 1/ame a un abogado inmedi8tamente. Si no conace a un abogado, puede 1/amar a un serv/c/o de
  remisi6n a abagados, Si no puede-pagar a un abogado, es poslbfe que cump/a con /os requisitos para abtener serviclos tegafes gratu/tos de un
  programa de servlclos leg ales sin fines de lucro. Puede encontrar estos grupOIS sin fines de tucro en el s/tio web de California Legal Services,
  (Www.lawhelpcallfornia.orgJ, en el Centro de Ayuda de las Cortes de California, (Www.sucorte.ca.govJ o panil'}ndose en contacto con la corle o el
  co/egia de abogadas locales. AVJSO:_ Por fey, la carte tiene derecho a reclamar /as cuatas y los costos exentos por lmpaner un gravamen sabre
  cualquier recuperaci6n de $10,000 6 mas de valor recibida med/ante un acuerdo a una concesi6n de arbitrafe en un caso de derecho civil. Tiene que
  pagar el gravamen de la carte antes de que la carte pueda desechar el caso,
 The name and address of the court is:                                                                      CASE NUMBER:
 (El nombre y direcci6n de la corte es):                                                                    (Ndmerode21      STCVOII 909
 Los Angeles Superior Court - Central District
 111 N. Hill Street, Los Angeles, CA 90012
 The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, Is:
 (El nombre, la direcci6n y el nUmero de te/efano def abogado de/ demandante, o def demandante que no tiene abogado, es):
 Jeffrey A. Koncius, Kiesel Law LLP, 8648 Wilshire Blvd., Beverly Hills, CA 90211, (310) 854-4444
                               Sherri R. Carter, Clerk
 DATE:            f EB O8 202\                                       Cler1<, by                         STEVEfJ OREW                                     , Deputy
 (Fecha)                                                            (Secretario)                                                                          (Adjunto)
 (For proof of service of this summons, use Proofof Service of Summons (form POS-01 OJ.)
 (Para prueba de entrega de esta citaU6n use el formulario Proof of Seivice of Summons, (POS-010)).
                                   NOTICE TO THE PERSON SERVED: You are served
  [SEAL]
                                   1.       D
                                           as an individual defendant.
                                       2.   [:J   as the person sued under the fictitious name of (specify):



                                       3.   [X]   on behalf of (specify):     ROBIN HOOD FINANCIAL LLC

                                            under:   D       CCP 416.10 (corporation)
                                                                                                             D       CCP 416.60 (minor)
                                                     CJ      CCP 416.20 (defunct corporation)                D       CCP 416.70 (conservatee)
                                                     CJ      CCP 416.40 (association or partnership)         D       CCP 416.90 (authorized person)
                                                   [X] other(specify): Corp. Code 17701.16
                                       4.   D     by personal delivery on (date):
                                                                                                                                                            Paue1 of1
 Form Adopted for Mandatory Use                                          SUMMONS                                                  Code of Civil Procedure§§ 412)1.0, 465
   Judicial Council of Ca!ffomia                                                                                                                   W\Wl.courtlnfo.ca,gov
   SUM-100 [Rev. July 1, 2009]




                                                                             31
Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 32 of 44 Page ID #:37




        1 Paul R. Kiesel, State Bar No. 119854
            kiesel@kiesel. law
        2 Jeffrey A. Koncius, State Bar No. 189803
            koncius@kiesel.law                                        coNFOAIVIED COPY
        3 Cherisse H. Cleofe, State Bar No. 290152                     sup<;filJ~J';:~L.-of~lfor01a
                                                                         county o_f Los Ange1 _es
            cleofe@kiesel.law
        4 KIESEL LAW LLP
          8648 Wilshire Boulevard
                                                                             FEB oe 2021
        5 Beverly Hills, California 90211-2910
          Tel:    310-854-4444                                   Sharri R. ea~er, Exaculi'le Officer/Clerk of Court
        6 Fax: 310-854-0812

         7 Richard C. Dalton, State Bar No. 268598
              rick@rickdaltonlaw.com
         8 RICHARD C. DALTON, LLC
           P.0.Box358
        9 Carencro, Louisiana 70520
           Tel:      (337) 371-0375
       10
           [Additional Counsel on signature page.]
       11
           Attorneys for Plaintiff TAYLOR THOMPSON,
       12 on behalf of himself and all other California
           residents similarly situated
       13
                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
       14
                                COUNTY OF LOS ANGELES, CENTRAL DISTRICT
       15
           TAYLOR THOMPSON, on behalf of himself
       16 and all other California residents similarly
                                                        Case No.
                                                                   21STCV04909
           situated,                                    CLASS ACTION
       17
                           Plaintiff,                   DECLARATION OF PLAINTIFF
       18                                               TAYLOR THOMPSON PURSUANT TO
                   v.                                   CALIFORNIA CIVIL CODE SECTION
       19                                               1780(d)
           ROBINHOOD FINANCIAL LLC,
       20
                           Defendant.
       21

       22

       23

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                                   DECLARATION OF TAYLOR THOMPSON
                             PURSUANT TO CALIFORNIA CIVIL CODE SECTION 1780(d)


                                                32
     Case 2:21-cv-02230-VAP-MRW
              II                Document 1-1 Filed 03/11/21 Page 33 of 44 Page ID #:38
OocuSign Envelope ID: 8E488F1D-6890-40F7-94B4-2663904947B6




                  1                             DECLARATION OF TAYLOR THOMPSON

               2              I, Taylor Thompson, declare as follows:

               3              I.      I am a party in the above-entitled action. I have personal knowledge of the facts set

               4      forth herein. If called as a witness, I could and would competently testify to the matters stated

               5 herein.9

               6              2.      I make this Declaration pursuant to California Civil Code section 1780(d) to state

               7      facts showing that this action has been commenced in the proper county for trial in this action.

               8              3.     On January 26 and 27, 2021, I used the Robinhood platform to place several orders,

               9 which Robinhood canceled. These events occurred while I was in Los Angeles, California.

              10             4.      To the best of my knowledge, this action has been commenced in the proper judicial

              11      district because a substantial part of the transaction giving rise to the liability of Defendant occurred

              12 within this district, because Defendant has received substantial compensation from doing business

              13      in this district, and because it is subject to the Court's personal jurisdiction with respect to this

              14 action.

             15              I declare under penalty of perjury under the laws of the State of California that the foregoing

             16 is true and correct.

             17              Executed February 8, 2021, at Los Angeles, California.

             18

             19
                                                                          Taylor Thompson
             20

             21

             22
             23

             24

             25

             26

             27

             28
                                                                         I
                                                DECLARATION OF TAYLOR THOMPSON
                                          PURSUANT TO CALIFORNIA CIVIL CODE SECTION 1780(d)


                                                                 33
  Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 34 of 44 Page ID #:39



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                                                                                      ,LE
                                                                                     Court of California
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  3
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  4                                                                           FEB 23 2021
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                                                                    ·11erri R. CaJ    ,   1/i·;;,·.JJj"      depu

                                                                      ~
  5

  6

  7

  8


  9
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                                 FOR THE COUNTY OF LOS ANGELES
11

12
         Taylor Thompson                              ) Case No.: 21STCV04909
                                                      )
13
                              Plai ntiff,             ~   INITIAL STATUS CONFERENCE ORDER
14
         Vs                                           ~   (COMPLEX LITIGATION)
15
                                                      ) REVISED AS OF 6/18/2020
         Robinhood Financial LLC                      )
16                                                        Case assigned for all purposes to
                                                      )
                                                      )   Judge Amy D. Hogue
17                            Defendant               )   Spring Street Courthouse
                                                      )   Department 7
18                                                    )   ISC Date: May 07, 2021 at 10:00 a.m.
                                                      )
19

20

21              This case has been assigned for all purposes to Judge Amy D. Hogue, Complex
22
         Litigation, Department 7. PLEASE READ THE COURTROOM INFORMATION FOR

         DEPARTMENT 7 POSTED ON THE COURT'S WEBSITE (www.lacomt.org.)
2 4· '
   k·
                The Court has scheduled an Initial Status Conference on May 07, 2021 at 10:00 a.m. in
25 '

26 "     Department 7, Second Floor, 312 North Spring Street, Los Angeles, California 90012.

27       Department 7 is scheduled to implement new technology (LACourtConnect) on July 6,
28




                                                            1




                                                      34
  Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 35 of 44 Page ID #:40



  1
        2020. This technology will allow parties and counsel to appear by telephone or video-
  2
        conference. To minimize social contact and avoid COVID-19 contamination of employees
  3
        working inside the courthouse, the Court strongly encourages all parties and counsel to
  4

  5
        appear remotely (via LACourtConnect) rather than in person. 1 If any party or counsel

  6     believes he or she has good cause to appear in person, please post a request on the e-service
  7
        message board at least two days before the appearance. When appearing via telephone or
  8
        video-conference, please call in from a quiet place and bear in mind that the technology
  9
        only allows one person to be heard at a time. Please pause frequently so that the Court can
10

11      interject questions and direct the discussion to the issues that are most important to the

12      Court.
13
                 To minimize foot traffic in the courthouse during the COVID-19 pandemic,
14
        Department 7 no longer accepts paper filings or courtesy copies.
15

16
                 The purpose of the Initial Status Conference is to identify the most fair and efficient way

17      of proceeding with the case. To that end, the Court strongly encourages the parties to propose

18      any and all approaches to case management that will promote the fair and efficient handling of
19
        the case. The Court is particularly interested in identifying dispositive or significant issues that
20
        may be addressed earlier rather than later in the case. For example, if an important issue in the
21

22      case is the adrnjssibility of critical evidence (such as expert testimony), an early motion in limine

        to decide that issue may be the most efficient way to proceed. If the Court' s interpretation of
24·.'
  1,.   provisions in a contract is a key issue, it may make sense for the plaintiff to amend the complaint
25 ·'

2s·

27
                 1
28                 To prevent the spread of COVID-19 , everyone in the courthouse is currently required to wear a mask and
        mainta in soc ial di stancing.



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 Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 36 of 44 Page ID #:41



 1       (or the defendant to amend the answer) to attach a copy of the contract so that the court can
 2
         adjudicate the issue in a demurrer.
 3
                  The Court orders counsel for all parties to confer via telephone, videoconference or other
 4

 5
         real time technology, at least 20 days before the Initial Status Conference. The purpose of the

 6       meeting is to discuss the following issues so that counsel can prepare a Joint Statement to be

 7
         filed with the Court five court days before the Initial Status Conference. All parties in
 8
         Department 7 must sign up with an e-service provider and activate a message board so that
 9
         the Court can communicate with counsel prior to the ISC. The Court orders the parties to
10

11       agree upon and sign up with an e-service provider (Case Anywhere, File & ServeXpress, or

12       Case Homepage) at least 15 days before to the ISC. So that the Court can promptly issue
13
         an order appointing the e-service provider, the Court orders Plaintiff's counsel to identify
14
         the selected e-service provider by sending an email to Dept. 7 at SSCDept7@lacourt.org at
15
         least 10 days prior to the ISC. Please remember that electronic service is not the same as
16

17       electronic filing. At present, only traditional methods of filing (physical delivery of original

18       papers or fax filing) are available in the Complex departments. To reserve a hearing date,
19
         please telephone the courtroom staff at (213) 310-7007 when the motion is ready to be
20
         filed.
21

22                Plaintiff' s counsel should take the lead in preparing the Joint Statement and in ensuring

23       that it includes a brief description of the facts and causes of action and addresses the following
24 :
  1.,.   questions.

             I) Are there any issues of judicial recusal or disqualification?
26 '

             2) Are any parties improperly named as defendants?
27

28           3) Will either side challenge jurisdiction or venue or move to compel arbitration?



                                                               3




                                                          36
  Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 37 of 44 Page ID #:42




 1             4) What are the key legal and factual issues affecting each side's evaluation of this case?
 2
                5) Are any of these key issues suitable for an early adjudication? For example, does it make
 3
                    sense for the court to promptly adjudicate a statute of limitation defense, interpret a
 4


 5
                    provision in a statute, adjudicate the adequacy of a class representative, or decide the

 6                  admissibility of critical evidence?

 7
                6) Is the most efficient procedure for presenting key issues to the court a motion, bifurcated
 8
                    trial, motion in limine, motion to certify or deny class certification, or another
 9
                    proceeding?
10

11             7) How and when do the parties plan to engage in the various forms of discovery? 2

12              8) Does it make sense to bifurcate certain issues for discovery or trial?
13
               9) How will the parties preserve evidence and uniformly identify documents produced in
14
                    discovery?
15
                10) Do the parties need to execute a joint stipulation for protective order? The court
16

17                  recommends the model protective orders found on the Los Angeles Superior Court

18                  Website under "Civil Tools for Litigators."
19
                11) Will the parties employ a mediator or ask the Court to order a mandatory settlement
20
                    conference as a means of alternative dispute resolution (ADR)?
21

22              12) Does any party have insurance (indemnity or reimbursement) and are there any potential

23=:                coverage issues that may affect settlement.

2t
25 :
  .:::·,

                      2
26 '                    If electronically stored information must be produced, the court e ncourages the parties to have their
           respective IT consultants/employees participate in the meet and confer process addressing(]) the information
27         management systems employed by the parties; (2) the location and custodians of information (i ncluding the
           ide ntification of network and e mail servers and hard drives maintained by target custodians); (3) the format in which
28         electronicall y stored information will be produced ; (4) the type ofESI that will be produced , i.e., data files , ema il s,
           etc.; (5) appropriate search criteria for focused requests.



                                                                             4




                                                                        37
 Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 38 of 44 Page ID #:43




 1        In addition to addressing these questions, the parties' Joint Statement must include the following
 2
          information.
 3
               13) The estimated size of any putative class.3
 4

 5
               14) A deadline for adding and serving any new parties.

 6             15) The parties' selected e-service provider (Case Anywhere, FileandServeXpress, or Case

 7
                   Homepage). 4
 8
               16) A description (including case numbers) of any related cases pending in other courts
 9
                   (including class actions with overlapping class definitions).
10

11             17) Whether the parties stipulate that discovery and/or pleading stays entered by the Court fo

12                 case management purposes are excluded from the five year rule under Code of Civil
13
                   Procedure Section 583 .310.
14
               18) A service list identifying all primary and secondary counsel along with their firm names,
15
                   addresses, telephone numbers, email addresses and fax numbers.
16

17             19) Recommended dates and times for the following:

18                      a. The next status conference.
19
                        b. Medi ation completion.
20
                        c. A filing deadline (and proposed briefing schedule) for key motions or
21

22                           proceedings, if any.

23 <



25.'                 3
                       In class action/PAGA Initi al Status Conferences, the court generally orders the parties to utili ze the
26
     .·   procedure approved in Bel-Aire West Landscape, Inc. v. Superior Court (2007) 149 Cal.App.4 1h 554, sharing the cos
          eq uall y.
                     4
27                     E-service does not effect uate a justiciable filing with the court. Until Los Angeles Superior Court
          activates e-fi ling for the co mplex c ivil departments, the parties must file or fax file paper docume nts with the court.
28        Uploading a docume nt onto thee-serv ice provider's website provides notice to the court and to the parties but does
          not place the m in the public record or effectuate a fi ling with the court.



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 Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 39 of 44 Page ID #:44




 1     To the extent the parties are unable to agree on the matters to be addressed in the Joint
 2
       Statement, each side may state its position in point/counterpoint fashion.
 3
                The Court directs each defendant to file a Notice of Appearance for purposes of
 4

 5
       identifying and serving all counsel. The Notice of Appearance shall be without prejudice to any

 6     affi rmative defense, cross complaint, affi rmative defense or jurisdictional challenge.

 7
                The Court stays all other proceedings in this action. The Court issues the stay to
 8
       assist the Court and the parties in this "complex" case by ensuring, among other things, an
 9
       orderly schedule for briefi ng and hearings on procedural and substantive challenges to the
10

11     complai nt. Thi s stay precludes the filing of any answer, demurrer, motion to strike, or motion

12     challenging the jurisdiction of the Court. Although this stay applies to formal discovery, it does
13
       not prevent the parties from informally exchanging documents or information that may assist in
14
       their initi al evaluation of the issues presented in thi s case. Any future stay ordered by the Court
15
       fo r purposes of case management is not a stay under Code of Civil Procedure section 583.310
16

17     unless the Court so orders.

18              The Court orders Pl aintiffs' counsel to serve this Initial Status Conference Order on
19
       counsel for Defendan t(s), or if counsel is not known, on Defendant(s) within five (5) days of the
20
       date of this Order. If the Complaint has not been served as of the date of this Order, Counsel for
21

22     Pl ai ntiff must serve the Complaint within five (5) days of the date of this Order.




25
       Dated:          fEB 2 3 2021
26 '


27

28                                                            Judge of the Superior Court



                                                              6




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                                                       Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 40 of 44 Page ID #:45

                                                             SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                    Civil Division
                                                                              Central District, Spring Street Courthouse, Department 7

                                                          21STCV04909                                                                      February 23, 2021
                                                          TAYLOR THOMPSON vs ROBINHOOD FINANCIAL LLC                                               9:14 AM


                                                          Judge: Honorable Amy D. Hogue                      CSR: None
                                                          Judicial Assistant: A. Morales                     ERM: None
                                                          Courtroom Assistant: T. Bivins                     Deputy Sheriff: None

                                                          APPEARANCES:
                                                          For Plaintiff(s): No Appearances
                                                          For Defendant(s): No Appearances
SEE NUNC PRO TUNC MINUTE ORDER OF 02/23/2021 9:18 AM




                                                          NATURE OF PROCEEDINGS: Court Order Re Newly Assigned Case

                                                          By this order, the Court determines this case to be Complex according to Rule 3.400 of the
                                                          California Rules of Court. The Clerk’s Office has randomly assigned this case to this department
                                                          for all purposes.

                                                          By this order, the Court stays the case, except for service of the Summons and Complaint. The
                                                          stay continues at least until the Initial Status Conference. Initial Status Conference is set for
                                                          02/23/2021 at 10:00 AM in this department. At least 20 days prior to the Initial Status
                                                          Conference, counsel for all parties must discuss the issues set forth in the Initial Status
                                                          Conference Order issued this date. The Initial Status Conference Order is to help the Court and
                                                          the parties manage this complex case by developing an orderly schedule for briefing, discovery,
                                                          and court hearings. The parties are informally encouraged to exchange documents and
                                                          information as may be useful for case evaluation.

                                                          Responsive pleadings shall not be filed until further Order of the Court. Parties must file a Notice
                                                          of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
                                                          Appearance shall not constitute a waiver of any substantive or procedural challenge to the
                                                          Complaint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
                                                          Code of Civil Procedure Section 170.6.

                                                          Counsel are directed to access the following link for information on procedures in the Complex
                                                          litigation Program courtrooms: http://www.lacourt.org/division/civil/CI0037.aspx

                                                          Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
                                                          thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
                                                          fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
                                                          or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
                                                          dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
                                                                                                     Minute Order                                 Page 1 of 2


                                                                                                          40
                                                       Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 41 of 44 Page ID #:46

                                                             SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                    Civil Division
                                                                              Central District, Spring Street Courthouse, Department 7

                                                          21STCV04909                                                                     February 23, 2021
                                                          TAYLOR THOMPSON vs ROBINHOOD FINANCIAL LLC                                              9:14 AM


                                                          Judge: Honorable Amy D. Hogue                     CSR: None
                                                          Judicial Assistant: A. Morales                    ERM: None
                                                          Courtroom Assistant: T. Bivins                    Deputy Sheriff: None

                                                          All such fees are ordered to be paid to Los Angeles Superior Court, within 10 days of service of
                                                          this order.

                                                          The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
                                                          Order on all parties forthwith and file a Proof of Service in this department within 7 days of
                                                          service. Certificate of Mailing is attached.
SEE NUNC PRO TUNC MINUTE ORDER OF 02/23/2021 9:18 AM




                                                                                                    Minute Order                                 Page 2 of 2


                                                                                                         41
Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 42 of 44 Page ID #:47
                                                                                 Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Taylor Thompson
DEFENDANT/RESPONDENT:
Robinhood Financial LLC
                                                                           CASE NUMBER:
                        CERTIFICATE OF MAILING                             21STCV04909

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order Re Newly Assigned
Case) of 02/23/2021, Initial Status Conference Order upon each party or counsel named below by placing
the document for collection and mailing so as to cause it to be deposited in the United States mail at the
courthouse in Los Angeles, California, one copy of the original filed/entered herein in a separate sealed
envelope to each address as shown below with the postage thereon fully prepaid, in accordance with
standard court practices.




    Paul R. Kiesel
    Kiesel Law LLP
    8648 Wilshire Blvd
    Beverly Hills, CA 90211




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 02/23/2021                                    By:   A. Morales
                                                           Deputy Clerk




                                     CERTIFICATE
                                               42OF MAILING
Case 2:21-cv-02230-VAP-MRW Document 1-1 Filed 03/11/21 Page 43 of 44 Page ID #:48

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                              Civil Division
                        Central District, Spring Street Courthouse, Department 7

   21STCV04909                                                                     February 23, 2021
   TAYLOR THOMPSON vs ROBINHOOD FINANCIAL LLC                                              9:18 AM


   Judge: Honorable Amy D. Hogue                       CSR: None
   Judicial Assistant: A. Morales                      ERM: None
   Courtroom Assistant: T. Bivins                      Deputy Sheriff: None

   APPEARANCES:
   For Plaintiff(s): No Appearances
   For Defendant(s): No Appearances




   NATURE OF PROCEEDINGS: Nunc Pro Tunc Order

   It appearing to the Court that through inadvertence and/or clerical error, the minute order of
   02/23/2021 in the above-entitled action does not properly reflect the Court's order. Said minute
   order is ordered corrected nunc pro tunc as of 2/23/2021, as follows:

   By striking: Initial Status Conference is set for 02/23/2021 at 10:00 AM in this Department.

   By substituting: Initial Status Conference is set for 05/07/2021 at 10:00 AM in this Department.



   Counsel for plaintiff is ordered to give notice.

   Certificate of Mailing is attached.




                                              Minute Order                                Page 1 of 1


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                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Taylor Thompson
DEFENDANT/RESPONDENT:
Robinhood Financial LLC
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              21STCV04909

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Nunc Pro Tunc Order) of
02/23/2021 upon each party or counsel named below by placing the document for collection and mailing
so as to cause it to be deposited in the United States mail at the courthouse in Los Angeles, California, one
copy of the original filed/entered herein in a separate sealed envelope to each address as shown below
with the postage thereon fully prepaid, in accordance with standard court practices.




    Paul R. Kiesel
    Kiesel Law LLP
    8648 Wilshire Blvd
    Beverly Hills, CA 90211




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 02/23/2021                                     By:   A. Morales
                                                            Deputy Clerk




                                      CERTIFICATE
                                                44OF MAILING
